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AVENUE, LLC, a California Limited Liability

Company

9 UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

3381 KATELLA AVENUE, LLC, a CASE NO:

California Limited Liability Company

COMPLAINT FOR:

(1) COST RECOVERY
(CERCLA - 42 U.S.C. §9607

(2) CONTR BUTION
(CERCLA - 42 U.S.C. §9613

Plaintiff,

‘7 | 9980 GRINDLAY PARTNERS; MARK
18 | F. WARDLE; BETTY L. WARDLE; 3) ET SEQ. ) ABILITY
SCOTT AVENT; DIANNA RCRA MTU e072

)
)
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)
)
16 VS. )
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)
‘? | RANDAZZO; ALISSA BASHMAKIAN;) (4) ‘COST RECOVERY AN

20 | HAGOP BASHMAKIAN; ARTASHES ) CONTRIBUTION HSAA ~~
31 | BASHMAKIAN; HRATCH ) SAFETY CODE § 25300, ET
BASHMAKIAN; JOHN F. ROBINSON;) SEO.
22 | CLARA J. ROBINSON; LOS y ) CON LINUING PUBLIC
COMPANY, INC.; BERT BERNHEIM; ) NUISANCE
24 | BERNHEIM ASSOCIATES; ) (7) NUISANCE PER SE
8) DECLARATORY RELIEF
>, | GRANADA ONE HOUR CLEANERS; 8) (STATE AND FEDERAL)

JOHN ROBERTSON dba GRANADA
26 | ONE HOUR CLEANERS; KWANG IN
LIM dba GRANADA ONE HOUR
CLEANERS; SANG SOO NE dba

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GRANADA ONE HOUR CLEANERS; )
2 | and DOES 1 — 50, inclusive. )
3 )

Defendants. )

‘ )
5
6 Plaintiff 3381 KATELLA AVENUE, LLC, a California Limited Liability
? | Company (“Plaintiff”) hereby alleges the following claims:
8 JURISDICTIONAL ALLEGATIONS
9 1. This court has jurisdiction over this subject matter because federal

10 | questions exist pursuant to 42 U.S.C. § 9607 et seq. 42 U.S.C. § 9607, and 9613 et seq.
11 | (“CERCLA”) and 42 U.S.C. § 6901 et seg. (RCRA).

12 2. Venue is proper in this district under 28 U.S.C. §1391(b) because the
13 | claims arise at 3391 Katella Avenue, Los Alamitos, California (hereinafter referred to
14 | as “the Polluting Site”). Plaintiff alleges that the soils and ground water underlying the
15 | Polluting Site have been impacted by hazardous substances and hazardous wastes
16 | (“Pollution”). After this Pollution was released, the Pollution migrated through the
1? | groundwater, soil vapor and/or soil onto the property located at 3381 Katella Avenue,
18 | Los Alamitos, California (“Impacted Site”). Both the Polluting Site and the Impacted
19 | Site are located within the geographic boundaries of this District Court’s jurisdiction.
20 3. This Court has jurisdiction to hear the state law and common law claims
21 | brought because they arise out of the same common nucleus of facts, acts and
22 | occurrences as the federal questions presented. Furthermore, considerations of judicial
23 | economy, convenience and fairness to the parties require the claims be tried together in
24 | one jurisdictional proceeding.

29 ALLEGATIONS RELATING TO THE PARTIES

26 A, Plaintiff is a limited liability company formed in California doing

27 | business at the 3381 Katella Avenue Property which is located in the County of

28 | Orange, State of California and within the Central District of California.

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5. Defendant, 9980 GRINDLAY PARTNERS, is a California General

Partnership in good status conducting business in California and from 2002-Present
has performed and is performing business in California as an Owner of the Polluting
Site located in the County of Orange, State of California and within the Central District
of California.

6. MARK F. WARDLE is an individual and General Partner of 9980
GRINDLAY PARTNERS residing and doing business in California and from 2002-
Present has performed and is performing business in California as an Operator and/or
Owner of the Polluting Site located in the County of Orange, State of California and
within the Central District of California.

7. BETTY L. WARDLE is an individual and General Partner of 9980
GRINDLAY PARTNERS residing and doing business in California and from 2002-
Present has performed and is performing business in California as an Operator and/or
Owner of the Polluting Site located in the County of Orange, State of California and
within the Central District of California.

8. SCOTT AVENT is an individual and General Partner of 9980
GRINDLAY PARTNERS residing and doing business in California and from 2002-
Present has performed and is performing business in California as an Operator and/or
Owner of the Polluting Site located in the County of Orange, State of California and
within the Central District of California.

9. DIANNA RANDAZZO is an individual and General Partner of 9980
GRINDLAY PARTNERS residing and doing business in California and from 2002-
Present has performed and is performing business in California as an Operator and/or
Owner of the Polluting Site located in the County of Orange, State of California and
within the Central District of California.

10. ALISSA BASHMAKIAN is an individual residing and doing business in
California and from 1998-2002 has performed business in California as an Owner

and/or Operator of the Polluting Site located in the County of Orange, State of

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California and within the Central District of California.

Il. HAGOP BASHMAKIAN, is an individual residing and doing business in
California and from 1998-2002 has performed business in California as an Owner
and/or Operator of the Polluting Site located in the County of Orange, State of
California and within the Central District of California.

12. ARTASHES BASHMAKIAN, is an individual residing and doing
business in California and from 1998-2002 has performed business in California as an
Owner and/or Operator of the Polluting Site located in the County of Orange, State of
California and within the Central District of California.

13. HRATCH BASHMAKIAN is an individual residing and doing business
in California and from 1998-2002 has performed business in California as an Owner
and/or Operator of the Polluting Site located in the County of Orange, State of
California and within the Central District of California.

i4. JOHN F. ROBINSON is an individual residing and doing business as
Granada One Hour Cleaners in California and from 1970-1994 has performed business
in California as an Owner and/or Operator of the Polluting Site located in the County
of Orange, State of California and within the Central District of California.

15. CLARA J. ROBINSON is an individual residing and doing business as
Granada One Hour Cleaners in California and from 1970-1994 has performed business
in California as an Owner and/or Operator of the Polluting Site located in the County
of Orange, State of California and within the Central District of California.

16. LOS ALAMITOS MANAGEMENT COMPANY, INC. is a suspended
California corporation which conducted business in California and from 1994-1995and
has performed business in California as an Owner and/or Operator of the Polluting Site
located in the County of Orange, State of California and within the Central District of
California.

17. BERT BERNHEIM is an individual residing and doing business in
California as BERNHEIM ASSOCIATES and from 1967-1979 has performed

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business in California as an Owner and/or Operator of the Polluting Site located in the
County of Orange, State of California and within the Central District of California.

18. BERNHEIM ASSOCIATES, a business organization of unknown type or
status doing business in California and from 1967-1979 has performed business in
California as an Owner and/or Operator of the Polluting Site located in the County of
Orange, State of California and within the Central District of California.

19. GRANADA ONE HOUR CLEANERS, a business organization of
unknown type or status doing business in California and from 1970- Present is and has
performed business in California as an Operator of the Polluting Site located in the
County of Orange, State of California and within the Central District of California.

20. KWANGINLIMis an individual residing and doing business as Granada
One Hour Cleaners in California and from 1990-2000 has performed business in
California as an Operator of the Polluting Site located in the County of Orange, State
of California and within the Central District of California.

21, SANGSOO NE 1s an individual residing and doing business as Granada
One Hour Cleaners in California and from 2000 to the present is and has performed
business in California as an Operator of the Polluting Site located in the County of
Orange, State of California and within the Central District of California.

22. Each of the Defendants identified above in Paragraphs 5-21 will hereafter
be referred to collectively as “Defendants”. The following provides a summary of the
Deiendants described above (or their predecessors in interest and/or affiliates and their

duration of operation at the Polluting Site.

Name Owner/Operator
Bernheim Associates Owner/Operator 1967-1979

J ohn F. Robinson and Clara J. Co-Owners/ 1979-1994
Robinson Co-Operators

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“Name oe "Status . _ Owner/Operator oe
ARS ON Be ee "Period :
Los Alamitos Management Owner/Operator 1994-1995
Company, Inc.
J ohn F. Robinson and Clara J. Co-Owners/ 1995-1998
Robinson Co-Operators
Hagop Bashmakian Owner/ 1998
Co-Operator
Alissa Bashmakian Owner! 1998-2002
Co-Operator
Artashes Bashmakian Owner/ 1998-2002
Co-Operator
Hratch Bashmakian Owner/ 1998-2002
Co-Operator
9980 Grindlay Partners Owner 2002-Present
Mark F. Wardle Owner/Operator 2002-Present
Betty L. Wardle Owner/Operator 2002-Present
Scott Avent Owner/Operator 2002-Present
Dianna Randazzo Owner/Operator 2002-Present
Granada One Hour Cleaners Operator 1970-Present
John Robertson dba Granada
Operat 1970-1990
One Hour Cleaners peree
Kwang In Lim dba Granada O
t 1990-2000
One Hour Cleaners pore
Sang Soo Ne dba Granada One Operator 2000-Present
Hour Cleaners

23, During the period 1970 to present, Defendants owned the Polluting Site,
owned the Polluting Site and operated the business, or merely operated dry cleaning
operations (collectively “Owners/Operators”) on the Polluting Site, which used various
chlorinated solvent type chemicals. Each of these Defendants are liable for their
company’s, predecessors’, successors’ and/or subsidiaries’ liabilities by means of one

or all of the following legal mechanisms: (1) by name change; (2) by statutory merger;

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(3) by de facto merger; (4) by express and/or implied assumption of liability; (5) by
alter ego liability; (6) by controlling the day to day decision making processes of a
subsidiary or sister entity; and/or, (7) by fraudulently entering transactions to
specifically avoid a subsidiary or sister entities’ liabilities.

24, —_— Plaintiffis unaware of the true names and capacities, whether individual,
associate, and corporate or otherwise, of Defendants Does 1-50, and therefore sues
such Defendants by fictitious name. Plaintiff will seek leave of this Court to amend the
Complaint when the identities of these persons or entities are ascertained.

25. Plaintiff is informed and believes and thereon alleges at all relevant
times herein mentioned, each of the Defendants was the agent, representative,
principal, servant, employee, partner, alter ego, joint venturer, successor-in-interest,
assistant, and/or consultant of each and every remaining Defendant, and as such, was at
all times acting within the course, scope, purpose and authority of such agency,
partnership, employment and/or venture, and with the express or implied knowledge,
permission, authority, approval, ratification and consent of the remaining Defendants,
whether said authority was actual, ostensible, or apparent; and each Defendant was
negligent and reckless in the selection, hiring, and supervision of each and every other
Defendant as an agent, representative, principal, servant, employee, partner, alter ego,
joint venturer, successor-in-interest, assistant, and/or consultant.

FACTUAL ALLEGATIONS
26. Plaintiff owns the Impacted Property and the business located on the

Impacted Property. To Plaintiff's knowledge, no manufacturing operations or use of
Pollutants or Hazardous Substances were ever conducted on the Impacted Property.
27. Plaintiff alleges Defendant Owners/Operators stored liquid, solid and
hazardous wastes, including but not limited to: Tetrachloroethylene (“PCE”);
Trichloroethylene (“TCE”); Total Petroleum Hydrocarbons (“TPH”), Benzene and
Ethylbenzene; and other hazardous substances and wastes and other contaminants, all

regulated under RCRA, in places including but not limited to: open-loop dry cleaning

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equipment/systems; closed-loop dry cleaning equipment/systems; aboveground drums,
barrels and other storage containers; aboveground storage tanks; aboveground pipe
lines; dispensing systems; degreasers; sumps; surface impoundments; surface gutters;
surface troughs; clarifiers; slab drains; sewer laterals; holding basins and other facility
receptacles at, or adjacent to, the Polluting Site (referred hereinafter collectively as
“Dry Cleaning Operations”).

28. Plaintiff further alleges the Defendants owned and/or operated a
treatment, storage and/or disposal facility (as defined by RCRA) in regard to the Dry
Cleaning Operations performed.

29. Plaintiff'is informed and believes that Defendants, while in the process
of conducting these Dry Cleaning Operations, experienced sudden and accidental
releases of hazardous wastes and hazardous substances. Plaintiff is informed and
believes Defendants’ sudden and accidental releases of hazardous wastes and
hazardous substances impacted both the soil and groundwater under the Polluting Site,
and those hazardous materials releases have migrated onto the Impacted Site and
surrounding areas, so as to cause Pollution and violate various state and federal laws
and regulations.

30. On or about January 14, 2015, a soil gas investigation was conducted by
Terrax Environmental Engineering & Consulting, Inc. (“Terrax”) at both the Impacted
Site and the Polluting Site. Soil gas samples taken during Terrax’s investigation
revealed detectible concentrations of PCE, TCE, Benzene and Ethylbenzene and other
related compounds (collectively “Pollutants” or “Pollution”) emanating from the
Polluting Site and migrating onto the Impacted Site. Plaintiff upon discovering these
Pollutants, reported the discovery of Pollution to groundwater to the Regional Water
Quality Control Board-Los Angeles Region (“RWQCB”) on April 28, 2015. By
reason of Plaintiff's legal duties as current owner of the Impacted Site, it is prescribed
the responsibility of prosecuting the abatement of Pollution nuisances on the Impacted
Site.

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31. The Impacted Site, including, but not limited to, soil and groundwater
beneath and adjacent to it, is now known to contain Pollutants, Hazardous Wastes and
Hazardous Substances which have migrated onto it from the Polluting Site, which
constitutes an imminent and substantial endangerment to both human health and the
environment and constitutes a continuing nuisance.

32. The Defendants owned or operated and/or leased the Polluting Site to
Co-Detendants who owned in common various equipment, fixtures, improvements,
containers and portable structures located on the Polluting Site. Pollutants from the
Polluting Site thereafter migrated through soil and groundwater onto the Impacted Site.
These two sites and areas therefore separately and collectively constitute a
“FACILITY” as that term is defined by the Comprehensive Environmental Response
Compensation and Liability Act of 1980 (hereinafter “CERCLA”) (42 U.S.C. § 9601
(9)(B).

33. Plaintiffalleges Defendants constructed certain features at the Polluting
Site allowing releases of these Pollutants into the subsurface,

34. The Defendants owned or operated the FACILITY located on the
Polluting Site.

35. The Defendants’ FACILITY conducted Dry Cleaning Operations using
various “Hazardous Substances” as that term is defined by CERCLA (42 U.S.C. §9601
(14)) which included PCE, TCE and other related Pollutant compounds.

36. The Defendants’ FACILITY’s Dry Cleaning Operations generated
various “Hazardous Waste[s]” as that term is defined by the Resource Conservation
and Recovery Act of 1976 (hereinafter “RCRA” (42 U.S.C. § 6903 (5)) which included
spent PCE, TCE and other related Pollutant compounds,

37. The Defendants’ ownership and operation of the FACILITY caused
and/or permitted, and/or otherwise resulted in, the sudden and accidental releases of
Hazardous Substances and/or Hazardous Wastes into the environment at the Polluting
Site.

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38. The Defendants’ releases of Hazardous Substances and/or Hazardous
Wastes into the environment at the Polluting Site polluted the underlying soils and
groundwater.

39, The Defendants’ releases of Hazardous Substances and/or Hazardous
Wastes into the environment at the Polluting Site constitute: a violation of federal and
state statutes and regulations; an imminent and substantial endangerment to public
health and/or the environment; and, a continuing nuisance, as that term is defined by
California Civil Code §3479.

40. By reason of Plaintiff's legal status as owner of the Impacted Site, which
constitutes a portion of the FACILITY, it is prescribed the primary responsibility of
implementing soil and groundwater cleanup and prosecuting the abatement of Pollutant
nuisances on the Polluting Site. Plaintiff is obliged to undertake these acts despite its
lack of involvement in the events and occurrences which caused the Pollution.
Plaintiff has diligently and responsibly complied with all administrative agency
directives to assess and remediate Pollution at the FACILITY. As a result, Plaintiff
has incurred, and will continue to incur, significant cost and expense (including but not
limited to contractor, consultant, legal and agency oversight fees) to remediate the soil
and groundwater at the FACILITY sufficient to obtain regulatory closure. The exact
amount of these damages is not known at this time.

41. Pursuant to the notification requirements set forth in §7002 of the Solid
Waste Disposal Act, as amended by the Resource Conservation and Recovery Act of
1976 (“RCRA”), 42 U.S.C. §6972(b)(2)(A), on or about April 28, 2015, Plaintiff
provided notice to all Defendants who could be located of its intention to file a lawsuit,
and/or will amend its pending complaint, in court(s) of competent jurisdiction, against
each of the past Defendant Operators who have contributed to the handling, storage,
treatment, transportation and/or disposal of liquid, solid, and/or Hazardous Wastes
which may and/or do present an imminent and substantial endangerment to health

and/or the environment in violation of the standards of RCRA, 42 U.S.C.

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§6972(a)(1)(B).

42. Plaintiff contends and alleges Pollution present at the FACILITY was
released by Defendants, and each of them. Plaintiff contends and alleges Defendants
and each of them are responsible for causing and remediating the soil and groundwater
Pollution at the FACILITY. Defendants, and each of them, to date have either denied
having any responsibility for either causing or remediating the soil and groundwater
Pollution at the FACILITY, and/or ignored the notice issued to each of them in order
to avoid liability, A judicial determination is needed of the respective legal rights and
obligations of Plaintiff and Defendants in order to resolve this dispute and controversy.

Plaintiff is also entitled to recover attorneys’ fees and costs incurred to investigate and
identify potentially responsible parties for the Polluting Site.

43. Plaintiff is an innocent landowner, bona fide purchaser and/or contiguous
landowner as defined by CERCLA, 42 U.S.C. §§ 9607(b)(3), 9601 (35)(A) and/or
California Land Use and Revitalization Act of 2004 - Health & Safety Code
§§25395.60 (“CLRRA”), Plaintiff is informed and believes, and based upon
information and belief alleges all Defendants who owned or operated the Polluting
Site, were the sole and exclusive cause of the release of Pollutants and/or Hazardous
Substances at the FACILITY and the damages caused by the release of those Pollutants
and/or Hazardous Substances and/or Hazardous Wastes. As a result, Plaintiffis entitled
to prosecute this claim as a Private Attorney General and Innocent Non-Polluting
Landowner.

FIRST CLAIM FOR RELIEF
(Claim for Cost Recovery Pursuant to § 107(a)
of CERCLA Against All Defendants)

44, Plaintiff repeats and realleges the allegations contained in paragraphs 1

through 43 inclusive, and incorporates them by reference as though fully set forth

herein.

45. The Polluting Site and the Impacted Site comprise a "FACILITY" within

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the meaning of § 101(9)(B) of CERCLA, 42 U.S.C. § 9601(9)(B) in that the Polluting
Site is a “site or area where a hazardous substance has been deposited, stored, disposed
of, or placed, or otherwise come to be located”, and Pollutants have migrated from the
Polluting Site to the Impacted Site.

46. During the period from 1970 through the present, Plaintiff is informed
and believes and on that basis alleges Defendants stored at one time or another liquid
Pollutants, Hazardous Substances and/or Hazardous Wastes, including but not limited
to the Pollutants PCE, TCE, and other Hazardous Substances, Hazardous Wastes
and/or pollutants, as part of the Dry Cleaning Operations performed. Plaintiff is
informed and believes, on occasion the waste storage receptacles, devices, and other
improvements used by Defendants’ in the Dry Cleaning Operations suddenly and
accidentally leaked so as to discharge and dispose of the liquid and/or solid Hazardous
Substances and/or Hazardous Wastes and other Pollutants stored in them into the soil,
soil vapor and groundwater at and beneath the Impacted Site and migrating onto
surrounding areas, including but not limited to the Impacted Site. Since the date
Defendants’ waste storage receptacles, devices and other improvements began to
suddenly and accidentally leak, discharge and dispose of liquid, solid and Hazardous
Substances and Hazardous Wastes and other Pollutants stored in them, those wastes
have been disposed, discharged, released, spilled, leaked, leached, off-gassed and/or
migrated into the air, soil, soil gas and groundwater at, above, beneath and adjacent to
the Impacted Site. Thereafter, continuing to the present, said air and soil vapor phase,
liquid and/or solid Hazardous Substances and/or Hazardous Wastes have leached,
migrated and caused damage, including the Pollution of the air, soil, soil vapor and
groundwater at, beneath and adjacent to the Impacted Site, and presents a public health
and safety hazard and nuisance. These sudden and accidental spills contained
Pollutants such as PCE, TCE, volatile organic compounds (VOCs), and various other
toxic chemical substances. These pollutants are and were "Hazardous Substances"

within the meaning of § 101(14) of CERCLA, 42 U.S.C. § 9601(14).

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47. Plaintiff is informed and believes and on that basis alleges Defendants
have handled, stored, treated, transported and/or disposed of solid and/or liquid
[{lazardous Substances and Hazardous Wastes at, and adjacent to, the Polluted Site ina
manner which caused those Hazardous Substances and Hazardous Wastes to pollute
the air, soil, soil vapor and groundwater at, beneath and adjacent to the Impacted Site
as to cause an imminent and substantial endangerment to health and/or the
environment.

48. The leak and/or sudden and accidental spill of these and other Hazardous
Substances from the dry cleaning equipment, floor drains, concrete gutters, swales,
ditches, underground sumps, waste water interceptors, clarifiers, degreasers, tanks,
piping, drums, barrels and containers at the FACILITY, and the resulting
contamination of surface and sub-surface soils, soil vapor and groundwater at the
FACILITY, constitute "releases" and/or "threatened releases" of Hazardous Substances
into the environment from a facility within the meaning of § 101(22) of CERCLA, 42
U.S.C. §9601(22).

49, Defendants, and each of them, were the only persons or entities who
performed Dry Cleaning Operations on or near the FACILITY during the period 1970
to the present, which could have or likely would have caused the types of
contamination which exist at the FACILITY. The Pollutant releases could not have
occurred but for Defendants’ conduct.

50. Asaresult of migration ofthe TCE, PCE and Hazardous Substances onto
the Impacted Property, Plaintiff has incurred response costs, including the costs of
investigating, characterizing, and supervising the abatement of releases and/or
threatened releases of Hazardous Substances from the FACILITY, as set forth above,
within the meaning of §§ 101 (23) and (25) of CERCLA, 42 U.S.C. §§ 9601 (23) and
(25) in that Plaintiff has performed “such actions as may be necessary to monitor,
assess, and evaluate the release or threatened release of hazardous substances”.

51. Plaintiff has incurred response costs in a manner not inconsistent with the

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National Contingency Plan (“NCP”), 40 C.F.R. Part 300.

52. Plaintiff, as owner of the Impacted Site on which the FACILITY is
located, is obligated to incur removal and remedial costs (as those terms are defined by
CERCLA 42 U.S.C. § 9601(23) and (24)) in the future to comply with CERCLA 42
U.S.C. § 9607, et seq. and the government directives referenced above.

53. Defendants, and each of them, were owners or operators of the
FACILITY at times when Hazardous Substances were disposed of and/or released,
are liable to Plaintiff, and therefore are “Responsible Persons” pursuant to CERCLA
42 U.S.C. § 9601(20).

54. Defendants are therefore responsible for all removal, remedial action, and
“Response Costs” pursuant to §§ 107(a) (1) and/or (2) of CERCLA, 42 U.S.C. §§
9607(a)(1) and/or(2).

55. Pursuant to § 107(a) of CERCLA, 42 U.S.C. § 9607(a), Plaintiff is
entitled to a declaratory judgment that each Defendant is liable to Plaintiff for cost
recovery in this and any subsequent action brought by Plaintiff to recover past, present,
and future costs or damages incurred in response to the release and/or threatened
release of Hazardous Substances at and from the FACILITY, including, without
limitation, any oversight, response, containment, assessment, analytical and/or
remedial costs incurred in response to the releases and/or threatened release of
Hazardous Substances at and from the FACILITY.

56. Plaintiff alleges the Pollution released by Defendants is not divisible from
the Pollution released by any other Co-Defendants (to the extent that more than one
Defendant has released Pollution) and therefore allocation among Defendants is not
appropriate. Furthermore, Plaintiff alleges all equitable factors applicable for
determination of allocation weigh in favor of Plaintiff and, therefore all damages
relating to Pollution caused by one or more of the Defendants should be allocated to
Defendants during any allocation stage of the litigation.

57. Pursuant to § 107(a) of CERCLA, 42 U.S.C. § 9607(a), Plaintiff further

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alleges Defendants are jointly and severally liable to Plaintiff for all past, present and
future costs incurred in response to the releases and/or threatened release of Hazardous
Substances at and from the FACILITY.
SECOND CLAIM FOR RELIEF
(Claim for Contribution Pursuant to § 113(f) of CERCLA
Against All Defendants)

58. Plaintiff repeats and realleges the allegations contained in paragraphs |
through 57 inclusive, and incorporates them by reference as though fully set forth.

59. Defendants, and each of them, were the only persons or entities that
owned and/or performed Dry Cleaning Operations and/or handled Hazardous
Substances and/or Hazardous Wastes on or near the FACILITY during the period from
1970 to the present which could have, or likely would have, caused the type of
contamination which exists on the FACILITY. The contaminant releases could not,
and would not, have occurred but for defendants’ negligent conduct.

60. Pursuant to § 113(f) of CERCLA, 42 ULS.C. § 9613(f), Plaintiff is entitled
to a declaratory judgment that each defendant is liable to plaintiff for contribution in
this and any subsequent action brought by plaintiff to recover past, present, and future
costs or damages incurred in response to the release and/or threatened release of
hazardous substances at and from the FACILITY, including, without limitation, any
oversight response, containment, assessment, analytical and/or remedial costs incurred
in response to the release and/or threatened release of hazardous substances at and
from the FACILITY.

THIRD CLAIM FOR RELIEF
(For Relief under 42 U.S.C. § 6972(a)(1)(B) - “RCRA"
Against All Defendants)

61. Plaintiff repeats and realleges the allegations contained in paragraphs 1
through 60 inclusive, and incorporates them by reference as though fully set forth.

62. Pursuant to the notification requirements set forth in § 7002 of the Solid

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Waste Disposal Act, as amended by the Resource Conservation Recovery Act of 1976
“RCRA”), 42 U.S.C. 6972(b)(2)(A), Plaintiffhas undertaken to notify all Defendants
of its intention to file this lawsuit. This notice dated April 28, 2015 and copies of the
United States Postal Service return receipts for Defendants that returned their return
receipts have been collected and retained to demonstrate Defendants have received
notice of Plaintiff's intention to file this lawsuit.

63. As more fully set forth herein above, Defendants were operators and/or
owners of various equipment, buildings or other improvements which performed dry
cleaning at the time of the release or disposal of the contaminants found at the
FACILITY which constitute hazardous waste (“Hazardous Waste”) as that term is
defined by RCRA, 42 U.S.C. § 6903(5)(A)(B) and the duly promulgated regulations
contained in 40 C.F.R, 261 et seq.

64. Defendants, and each of them, were the only persons and/or entities that
performed Dry-Cleaning Operations and/or handled Hazardous Substances and/or
Wastes on or near the Poliuting Site during the period 1970 to the present which could,
or likely would, have caused the type of Pollution resulting from Defendants’ Dry-
Cleaning Operations. Defendants also had substantial control over the Hazardous
Wastes at the time of disposal or were otherwise actively involved in the waste
disposal process. The Pollutant releases could not, and would not, have occurred but
for Defendants’ negligent conduct.

65. Thereleases and/or disposal of Hazardous Wastes at the FACILITY have
caused an imminent and/or substantial endangerment to health or the environment, by
creating a health risk to: workers on the FACILITY; and/or neighboring properties;
and/or groundwater in the area. This human health risk shall be increased and/or
exacerbated in the event workers perform soil excavation at or around the Impacted
Site. Furthermore, the vertical and horizontal migration of the Hazardous Wastes
released by Defendants endangers the drinking water supplies of a large number of the

general public. This endangerment is evidenced by the fact that the Pollution at the

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FACILITY may have begun to migrate off-site. Hazardous vapors may also seep from
the subsurface into the air space within the structures on the Impacted Site or into the
air space of off-site structures to cause imminent and substantial impacts to the ambient
air at concentrations in ways potentially harmful to human health. Defendants’ failure
and/or refusal to take corrective action while the Pollution continues to spread puts the
public at risk.

66. Asa matter of law, Plaintiff is entitled to prosecute and maintain this
lawsuit, to obtain injunctive relief compelling FACILITY remediation, directing
Defendants to: take action to address the endangerment which exists; participate in the
Pollution site investigation and clean up; pay the costs and expenses incurred by
Plaintiff in connection with the Site to date; obtain payment for environmental
consulting costs for Impacted Site assessment to date; and, obtain payment of
attorneys’ fees pursuant to 42 U.S.C. § 6972(a)(1)(B).

67. As a matter of law, Defendants are strictly liable for all costs and
expenses resulting from the releases or discharges of the Hazardous Wastes at the
FACILITY. As a matter of law, there is an identifiable period of time during which
Pollution of the FACILITY by Defendants occurred. Plaintiff, when permitted by law,
has or will join as Defendants all persons who operated the Polluting Site during the
time which the Pollution occurred; Plaintiff is entitled to prosecute this claim as a
Private Attorney General. As a result, Defendants are jointly and severally liable for
conducting all necessary Impacted Site assessment and/or remediation of releases or
discharges of the Hazardous Wastes at the FACILITY relating to the areas of Pollution
caused by one or more Defendants.

68. Further, as a result of Defendants’ disposal of the Hazardous Wastes on
the FACILITY, Plaintiff as owner of the FACILITY has incurred environmental
consulting costs to identify and characterize the nature and extent of the Pollution
caused by Defendants and each of their respective releases or disposals of Hazardous

Wastes at the FACILITY.

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69. The regulated Hazardous Wastes described above have actually seeped
into the soils and/or ground water at the FACILITY and Polluted Plaintiff's Property.
The Hazardous Wastes released by Defendants’ daily cause ongoing direct and actual
harm to Plaintiffs Property for which remedial and preventative measures must be
taken. As a direct and proximate result of Defendants and each of their releases and
disposals of Hazardous Wastes at the FACILITY, Plaintiff has been damaged and
caused to incur environmental agency oversight costs in a sum not yet fully
ascertained, and to be proved at the time of trial. Based on the foregoing, Plaintiff is
entitled to and hereby demands reimbursement from each Defendant for all of the costs
necessary to respond to Defendants' Pollution and each of their releases or disposals of
Hazardous Wastes which have injured, and continue to injure Plaintiff's Property;
Private Attorney General attorneys’ fees; and, injunctive relief compelling their
implementation of remedial action.

FOURTH CLAIM FOR RELIEF
Cost Recovery and Contribution Pursuant to the HSAA
(Against All DEFENDANTS)

70. Plaintiff repeats and realleges the allegations contained in Paragraphs |

through 69, inciusive and incorporates them by reference as though fully set forth.

71. The Hazardous Substances Accounts Act (“HSAA”) provides Defendants
are “Persons” as defined by California Health and Safety Code §§ 25319.

72. The HSAA provides Defendants are “Responsible Parties” as defined by
California Health and Safety Code § 25323.5 and CERCLA 42 U.S.C. §§ 9607(a)(1),
9607(a)(2) and 9607(a)(4).

73. The HSAA provides Plaintiff may recover from Defendant Responsible
Persons its removal and/or remedial action costs incurred or to be incurred to remove
and/or remedy the alleged releases or threatened releases of Hazardous Substances at
the Polluting Site pursuant to California Health & Safety Code § 25363(e).

74, Plaintiff alleges Defendants have released Hazardous Substances at the

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Polluting Site, and/or have equitably and/or contractually assumed liability for such
releases, within the meaning of California Health and Safety Code §§ 25320-25321.

75. Plaintiff alleges it has incurred, and will continue to incur, costs to
perform “removal” and/or “remedial” actions to respond to the Hazardous Substances
released by Defendants, and/or to respond to releases that Defendants have equitably
and/or contractually assumed liability for, at the Polluting Site within the meaning of
California Health & Safety Code §§ 25322-25323.

76. — Plaintiffalleges Defendants are Responsible Parties as defined by Health
and Safety Code § 25323.5 and 42 U.S.C. § 9607(a), and therefore Plaintiff is entitled
to cost recovery and contribution from Defendants pursuant to California Health and
Safety Code § 25363, including but not limited to all present and future costs of
Pollution investigation, remediation and attorneys’ fees.

FIFTH CLAIM FOR RELIEF
(For Continuing Public Nuisance Against All Defendants)

77. Plaintiff repeats and realleges the allegations contained in Paragraphs 1
through 76 inclusive, and incorporates them by reference as though fully set forth.

78. Defendants, and each of them, were the only persons and/or entities that
owned and/or performed Dry Cleaning Operations and/or handled Hazardous
Substances and/or Hazardous Wastes on or near the FACILITY. Defendants owned
and/or operated the FACILITY during the period 1970 to the present. Defendants’
Pollutant releases could not, and likely would not, have occurred but for Defendants’
negligent conduct.

79. Atall material times, Defendants have allowed and permitted Hazardous
Substances and/or Hazardous Wastes from the Polluting Site to leak and migrate onto
and into the soil, soil vapor and groundwater adjacent to and underlying the Impacted
Site. The Pollutants released by Defendants are carcinogenic and highly toxic to plant,
animal and human life. The Pollutants create a health risk to Impacted Site workers

and/or neighboring properties in the event workers occupy indoor air spaces or perform

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soil excavation to further develop the Impacted Site and neighboring sites.
Furthermore, the vertical and horizontal migration of the pollutants released by
Defendants endangers the drinking water supply of the general public. This danger is
evidenced by the fact the Pollutants at the FACILITY have migrated off-site.
Hazardous vapors may also seep from the subsurface into the air space within the
structures on the Impacted Site or into the air space of off-site structures to cause
imminent impacts to the ambient air at concentrations potentially harmful to human
health. Defendants’ failure and/or refusal to take corrective action while the Pollution
continues to spread puts the public at risk.

80. Defendants’ failure and/or refusal to abate the nuisance before the
Pollution further spreads puts a large number of the public at risk. In addition,
Defendants’ actions potentially affect the entire community or neighborhood, or, at a
minimum, a considerable number of persons.

81. The former ownership, use and operation of the Polluting Site by
Defendants constitutes a nuisance within the meaning of California Civil Code §§ 3479
and 3480. Defendants’ actions are injurious to Plaintiff's economic interests in the
Impacted Site and interfere with Plaintiff's comfortable and quiet use and enjoyment of
the Impacted Site. In addition, Defendants’ Pollution acts potentially affect an entire
community or neighborhood, or, at a minimum, a considerable number of persons.

82.  Plaintiffhas given notice to Defendants, and each of them, of the damage
caused by the Pollution nuisance, and requested its abatement. However, Defendants,
and each of them, have failed and/or refused, and continue to fail and/or refuse, to
abate the Pollution nuisance.

83. Defendants, and each of them, have threatened to and will, unless
restrained by this court, continue to maintain the Pollution nuisance and continue the
acts complained of. Each and every of Defendants’ Pollution nuisance acts have been,
and will be, without Plaintiffs consent, against Plaintiffs will, and in violation of

Plaintiff's right of quiet use and enjoyment of the Impacted Site.

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84. As a proximate result of the continuing Pollution nuisance caused and
maintained by the Defendants, Plaintiff has suffered: a substantial reduction in the
monetary value and marketability of the Impacted Site; potential lost rental income; an
impaired ability to pledge the Impacted Site as security for either operating lines of
credit or capital improvement loans; an impaired ability to obtain loans or financing;
the requirement of employing environmental consultants to assess and remediate the
FACILITY and to incur costs related thereto; potential exposure to lawsuits due to
exposures from workers at the Impacted Site and/or workers exposed to Hazardous
Substances and Hazardous Wastes that have migrated off-site; and, the need to employ
legal counsel and incur legal costs and attorneys’ fees.

85. As a further proximate result of the continuing abatable Pollution
nuisance created by Defendants, and each of them, Plaintiff is informed and believes it
will be injured and sustain damages by reason of its inability to freely use, occupy,
rent, refinance, pledge, hypothecate, secure, or sell the Impacted Site,

86. The Pollution nuisance is continuing in nature and with implementation of
reasonable remedial measures can be abated.

SIXTH CLAIM FOR RELIEF
(For Continuing Private Nuisance Against All Defendants)

87. Plaintiff repeats and realleges the allegations contained in Paragraphs 1
through 86 inclusive, and incorporates them by reference as though fully set forth.

88. Defendants, and each of them, were the only persons or entities that
owned and/or performed Dry Cleaning Operations and/or handled Hazardous
Substances and/or Hazardous Wastes on or near the FACILITY for the period 1970 to
present. Defendants caused the type of Pollution which exists on the FACILITY. The
Pollutant releases could not, and likely would not, have occurred but for Defendants’
negligent conduct.

89.  Atall material times, Defendants have allowed and permitted Hazardous

Substances and/or Hazardous Wastes from the Polluting Site to leak into the soil, soil

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vapor and groundwater adjacent to and underlying the Plaintiffs Property. The
Pollutants released are carcinogenic and are highly toxic to plant, animal and human
life. Furthermore, the presence of the Pollution at the Impacted Site interferes with
Plaintiff’s quiet use and enjoyment of the Impacted Site. Plaintiff is prevented by the
Pollution from performing excavation of the soil at the Impacted Site to facilitate
development of the Impacted Site. Furthermore, Plaintiff is prevented from making
full use of its real estate investment to obtain more favorable refinancing of existing
loans and/or financing of new loans on the Impacted Site. Finally, Plaintiff may lose
opportunities to sell or rent the Impacted Site to prospective buyers or tenants who do
not wish to perform operations at the Impacted Site which is Polluted and which
potentially poses increased worker safety risks.

90, The ownership, use and maintenance of the Polluting Site by Defendants
constitutes a nuisance within the meaning of § 3479 and § 3481 of the California Civil
Code because it is injurious to plaintiff's economic interests in the Impacted Site and
interferes with the comfortable and quiet use and enjoyment of the
Property.

91, Plaintiffhas given notice to Defendants, and each of them, of the damage
caused by the Pollution nuisance, and requested its abatement, but Defendants, and
each of them, have failed and/or refused, and continue to fail and/or refuse, to abate the
Pollution nuisance.

92. Defendants, and each of them, have threatened to and will, unless
restrained by this court, continue to maintain the Pollution nuisance and continue the
acts complained of. Each and every Pollution nuisance act has been, and will be,
without Plaintiffs consent, against Plaintiff's will, and in violation of Plaintiff's right
of quiet use and enjoyment of the Impacted Site.

93. As a proximate result of the continuing Pollution nuisance caused and
maintained by the Defendants, Plaintiff has suffered: a substantial reduction in the

monetary value and marketability of the Impacted Site; [lost rental income; an

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impaired ability to pledge the Impacted Site as security for either operating lines of
credit or capital improvement loans; impaired ability to obtain loans or financing; the
requirement of employing environmental consultants to assess and remediate Pollution
at the FACILITY and to incur costs related thereto; exposure to potential lawsuit; and,
the need to employ legal counsel and incur legal costs and attorneys’ fees.

94, As a further proximate result of the continuing abatable Pollution
nuisance created by Defendants, and each of them, Plaintiff is informed and believes it
will be injured and sustain damages by reason of its inability to freely use, occupy,
rent, refinance, pledge, hypothecate, secure, or sell the Impacted Site.

95. The Pollution nuisance is continuing in nature and with implementation of
reasonable remedial measures can be abated.

SEVENTH CLAIM FOR RELIEF
(For Continuing Nuisance Per Se Against All Defendants)

96. Plaintiff repeats and realleges the allegations contained in Paragraphs 1
through 95 inclusive, and incorporates them by reference as though fully set forth.

97. Defendants, and each of them, were the only persons or entities that
owned and/or performed Dry Cleaning Operations and/or handled Hazardous
Substances and/or Hazardous Wastes on or near the FACILITY during the period 1970
to the present. Defendants caused the type of Pollution which exists on the
FACILITY. The Pollutant releases could not, and likely would not, have occurred but
for Defendants’ negligent conduct.

98. Atall material times, Defendants have allowed and permitted Hazardous
Substances and/or Hazardous Wastes from the Polluting Site to leak and migrate onto
and into the soil, soil vapor and groundwater adjacent to and underlying the Impacted
Site. The Pollutants released are carcinogenic and are highly toxic to plant, animal and
human life. Furthermore, the presence of the Pollution at the Impacted Site interferes
with Plaintiff's free use and enjoyment of the Impacted Site. Plaintiff is prevented by

the Pollution from performing excavation of the soil at the Impacted Site to facilitate

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development of the Impacted Site. Furthermore, Plaintiff is prevented from making
full use of its real estate investment to obtain more favorable refinancing of existing
loans and/or financing of new loans on the Impacted Site. Finally, Plaintiff may lose
opportunities to sell or rent the Impacted Site to prospective buyers or tenants who do
not wish to perform operations at the Impacted Site which is Polluted.

99. The Hazardous Substances and Hazardous Wastes released also create a
health risk to workers on Property and/or neighboring properties in the event workers
occupy indoor air spaces or perform soil excavation to further develop the Impacted
Site and other sites. Furthermore, the vertical and horizontal migration of the
Pollutants released by Defendants endangers the drinking water supply of the general
public. This danger is evidenced by the fact that the Pollutants at the Polluting Site
have already begun to migrate off the Polluting Site. The Pollutants may have
migrated through the soil and soil vapors at the Polluting Site and onto off-site
properties to become a potential threat to human health because of the accumulation of
harmful vapors in adjoining buildings. Defendants’ failure and/or refusal to abate the
nuisance before the Pollution spreads further puts a large number of the public at risk.
Plaintiff is informed and believes and thereon alleges Defendants, and each of them, in
breaching their duty of care, violated certain statutes, ordinances, and/or regulations of
a public entity.

100. Plaintiffis informed and believes and thereon alleges Defendants violated
both CERCLA, 42 U.S.C. § 9607, et seq. and RCRA, 42 U.S.C. S 6972, et seq., by
causing and/or permitting the discharge or release of Hazardous Substances and/or
Hazardous Wastes into the environment.

101. Plaintiff is informed and believes and thereon alleges Defendants also
violated the: California Hazardous Substance Account Act (Health & Safety Code
§25300 et seq.); Hazardous Waste Control Law (Health & Safety Code §25100 et
seq.); California Water Code (Dickey Act (Water Code §13010, et seq., repealed
1969); Porter-Cologne Act (Water Code § 13020, et seq.), by causing and/or

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permitting the discharge or release of the Hazardous Substances and/or Hazardous
Wastes into the environment; Proposition 65 - Safe Drinking Water and Toxic
Enforcement Act of 1986,; California Health and Safety Code § 25249.5, et seq.;
California Health and Safety Code § 25299(a), (b), and (C), and 25189(d); California
Water Code § 13050 (m)(1), 13265(c) and (d); and 13350(b); and, California Fish &
Game Code § 2560.

102. As a proximate result of Defendants' statutory violations in connection
with the ownership and/or operation of the FACILITY, and the leakage of hazardous
and regulated substances and/or wastes into the soil and groundwater on the Polluting
Site, Plaintiff has been caused damages and has suffered: exposure to carcinogenic
substances; a substantial reduction in the monetary value and marketability of the
Impacted Site; an impaired ability to pledge the Impacted Site as security for either
operating lines of credit or capital improvement loans; an impaired ability to obtain
loans or financing; the requirement of employing environmental consultants to assess
and remediate the FACILITY and to incur costs related thereto; potential exposure to
employee lawsuits; and, the need to employ legal counsel and incur legal costs and
attorneys’ fees,

103. Plaintiff's injuries have resulted from an occurrence the nature of which
the statutes, ordinances, and/or regulations specifically referred to herein were
designed to prevent.

104, Plaintiff is a member of that class of persons for whose protection the
statutes, ordinances, and/or regulations more specifically referred to herein were
adopted to protect.

105. Defendants' violations of those statutes, ordinances, and/or regulations are
unjustified and inexcusable because Defendants possessed the wherewithal to prevent
the Pollutant releases or discharges, or, once detected, to promptly and effectively
remedy them so as to prevent prolonged exposure and injury to the environment.

106. The Pollution nuisance is continuing in nature and with implementation of

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reasonable remedial measures can be abated.
EIGHTH CLAIM FOR RELIEF
(For State and Federal (28 U.S.C. §2201(a) and 42 U.S.C. § 9613(g))
Declaratory Relief Against All Defendants)

107. Plaintiff repeats and realleges the allegations contained in paragraphs 1
through 106 inclusive, and incorporates them by reference as though fully set forth.

108. An actual controversy has arisen and now exists between Plaintiff and
Defendants in that Plaintiff contends, and Defendants and each of them deny,
responsibility for the Pollution, Hazardous Substances and/or Hazardous Wastes
caused or permitted to be released into the environment at the FACILITY rests solely
and entirely upon Defendants.

109, Defendants, by reason of their ownership and operation of the
FACILITY, each had exclusive possession, custody and control of the FACILITY
during the periods of the Pollutant releases.

110. In addition to rights for state declaratory relief, Plaintiff seeks federal
declaratory relief under §2201 of the Declaratory Judgment Act, 28 U.S.C. §1331, et
seq. relating to all Federal statutory claims asserted and independently seeks
declaratory relief under 42 U.S.C. § 9613(g) of CERCLA. Plaintiff therefore requests
a judicial determination of rights, and the duties and obligations of the Defendants, in
responding to the alleged releases and threatened releases of Hazardous Substances
and Hazardous Wastes into the soil, soil gas, air, surface water and/or groundwater at
and from the Impacted Site.

111. A dispute and controversy exists regarding:

(a) Which persons and entities are responsible for causing Pollution at
the FACILITY;

(b) Which persons and entities are responsible for Impacted Site
Pollution assessment and remediation of the FACILITY;

(c) The time period in which FACILITY Pollution remediation should

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occur;
(d) The appropriate means and costs for Pollution remediation of the

FACILITY;

(e) The scope of the Pollution remediation of the FACILITY;
(f) The exact nature and extent of Plaintiffs economic damages;
(g) Which parties are responsible for payment of civil penalties (if
any); and,
(h) Whether Plaintiff is entitled to recover attorneys’ fees.
112, Plaintiff believes additional issues will arise requiring judicial
determination as the litigation progresses. A judicial declaration is necessary and

appropriate at this time in order that Plaintiff may ascertain its rights and duties with
respect to Plaintiff's claims for damages.
PRAYER FOR RELIEF
WHEREFORE, PLAINTIFF prays of this Court as follows:
ON THE FIRST, SECOND AND FOURTH CLAIM FOR RELIEF:
1. For Plaintiff's Response Costs;

2. For all other related costs incurred herein;

3. For a declaration and/or determination Defendants are responsible for
paying to and/or reimbursing Plaintiff for all past and future costs to investigate and
remediate Pollution at the Impacted Site; and,

4. For attorneys’ fees and costs relating to the investigation of responsible
parties for the Impacted Site.

ON THE THIRD CLAIM FOR RELIEF:

5. For issuance of an injunctive order directing Defendants to take action to

address the endangerment which exists from the Pollution and compelling Defendants
to perform FACILITY Pollution remediation and/or to pay the costs of FACILITY
Pollution remediation implemented by Plaintiff in the future until such time as a “No

Further Action Is Required” letter for soil, soil vapor and groundwater Pollution is

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issued by the governmental regulatory agency responsible for overseeing FACILITY
remediation;

6. For issuance of an injunctive order directing Defendants to participate in
the site investigation and/or pay the costs of investigation implemented by Plaintiff in
the future until such time as a “No Further Action Is Required” letter for soil, soil
vapor and groundwater Pollution is issued by the governmental regulatory agency
responsible for overseeing FACILITY remediation;

7. For the costs, and Site Pollution investigation expenses, incurred by
Plaintiff in connection with the Site to date since issuance of Plaintiff's Notice of
Intent to Sue;

8. For all environmental, analytical and expert response costs incurred; and,

9. For reasonable attorneys’ fees as a Private Attorney General and all costs
and fees of litigation.

ON THE FIFTH, SIXTH AND SEVENTH CLAIM FOR RELIEF:

10. For all costs of Pollution investigation and remediation incurred within

the past three (3) years of filing this lawsuit;

li. For all other related costs incurred herein;

12. For issuance of an injunctive order compelling Defendants to pay for
and/or to remediate Pollution on the Impacted Site;

13. For attorneys’ fees and costs relating to the investigation of responsible
parties for the Impacted Site pursuant to California Code of Civil Procedure §1021.5
and 1021.6 and as otherwise permitted by statute.

ON THE EIGHTH CLAIM FOR RELIEF:

15. For a finding and declaration of the court concerning:

(a) | Which persons and entities are responsible for causing Plaintiff’ s
damages;

(b) | Which persons and entities are responsible for Property Pollution
assessment and remediation;

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(c) The time period in which Property Pollution remediation should

occur;
(d) The appropriate means and costs for Pollution remediation;
(e) The scope of the Pollution remediation;
(f) The exact nature and extent of Plaintiff's economic damages;
(gz) | Which parties are responsible for payment of civil penalties (if any)
as alleged by Plaintiff in the Complaint; and,

(h) Whether Plaintiff is entitled to recover attorneys' fees and costs
of litigation.
DEMAND FOR JURY TRIAL
Plaintiff demands a trial by jury for all causes of action under which it is entitled
to a jury trial.

Dated: September 9, 2015 BOIS & MACDONALD

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Thomas J. Bois

James C. Macdonald

Attorneys for Plaintiff 3381
KATELLA AVENUE, LLC, a
California Limited Liability Company

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